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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                :
Robert Ward, on his own behalf and on behalf    :
of all others similarly situated,               :
                                                :
                      Plaintiff,                :
v.                                              : Civil Action No.: 2:17-cv-02069-MMB
                                                :
Flagship Credit Acceptance LLC,                 :
                                                :
                      Defendant                 :
                                                :
                                                :
                                                :

     MOTION FOR (1) AN AWARD OF ATTORNEYS’ FEES AND EXPENSES AND
           (2) AN INCENTIVE AWARD TO THE NAMED PLAINTIFF

       Pursuant to Fed. R. Civ. P. 23(h), the Parties’ Settlement Agreement and in accordance

with Paragraphs 11 & 21 of the Court’s Preliminary Approval Order (Doc. No. 21), Plaintiff

Robert Ward and Class Counsel respectfully move

       this Court for an Order awarding attorneys’ fees and expenses of $1,333,333.33 (one-

third of the $4 million Settlement Fund) and for an incentive award to the Class Representative

in the amount of $10,000.00.

       In support, Plaintiff and Class Counsel submit the accompanying memorandum of law in

support and the Declarations of Class Counsel Sergei Lemberg and Stephen F. Taylor.

       For the reasons set forth in the accompanying memorandum, Plaintiff and Class Counsel

respectfully request that the Court grant this motion and award the requested fees, expenses and

incentive award.

Dated: March 19, 2019                              Respectfully submitted,


                                                  Robert Ward, individually and on behalf of all
                                                  others similarly situated,
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                           By:    /s/ Stephen Taylor
                                  Sergei Lemberg
                                  Stephen Taylor
                                  Lemberg Law LLC
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                                 CERTIFICATE OF SERVICE

       I, Stephen Taylor, an attorney, certify that, on March 19, 2019, the foregoing was filed
with the Clerk of the Court through the CM/ECF system which sent notice of such filing to the
following:

Gerald E. Arth
Steven J. Daroci, II
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103




                                                    /s/ Stephen Taylor
                                                    Stephen Taylor
